  [NOT FOR PUBLICATION--NOT TO BE CITED AS PRECEDENT]
             United States Court of Appeals
                 For the First Circuit

No. 98-1296

                      UNITED STATES,

                        Appellee,

                            v.

                ENRIQUE ANASTASIO-NAVARRO,

                  Defendant, Appellant.

       APPEAL FROM THE UNITED STATES DISTRICT COURT

             FOR THE DISTRICT OF RHODE ISLAND

         [Hon. Mary M. Lisi, U.S. District Judge]

                          Before

                  Stahl, Circuit Judge,
             Coffin, Senior Circuit Judge,
               and Lipez, Circuit Judge.

 Michael A. Tucker on brief for appellant.
 Margaret E. Curran, United States Attorney and Zechariah
Chafee, Assistant United States Attorney, on brief for appellee.

October 19, 1998

                                           Per Curiam.  Upon careful consideration of the briefs
and record, we find no issue for our review.
          1.   Defendant did not ask the district court for
downward departures on the grounds that he now proposes. 
Defendant thus waived for appeal the issue whether the district
court erred in denying departures on those grounds.  In any
event, the denial of such departures would be within the
district court's discretion, and we do not have jurisdiction to
review such an exercise of discretion.  See United States v.
Pierro, 32 F.3d 611, 619 (1st Cir. 1994).  There is no
reasonable basis for defendant's assertion that the district
court misunderstood its authority to depart, and there is no
question of law in that regard to be reviewed here.
          2.   Defendant's claim of ineffective assistance of
counsel will not be reviewed on direct appeal.  See United
States v. Martinez-Martinez, 69 F.3d 1215, 1225 (1st Cir.
1995).  If defendant believes that he has a viable claim in
that regard, he may raise it in proceedings under 28 U.S.C. 
2255.
          Affirmed.  See 1st Cir. Loc. R. 27.1.
